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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                            x
In re:                                                      :    Chapter 11
                                                            :
THE WEINSTEIN COMPANY HOLDINGS                              :    Case No. 18-10601 (MFW)
LLC, et al.,                                                :
                                                            :    (Jointly Administered)
                    Debtors.1                               :
                                                            :    Re: Docket No. 2910
                                                            x

         CERTIFICATION OF NO OBJECTION REGARDING TWENTY-SEVENTH
         MONTHLY APPLICATION OF RICHARDS, LAYTON & FINGER, P.A. FOR
            ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
          AND FOR REIMBURSEMENT OF EXPENSES AS CO-COUNSEL TO THE
           DEBTORS AND DEBTORS IN POSSESSION FOR THE PERIOD FROM
             JUNE 1, 2020 THROUGH JUNE 30, 2020 (NO ORDER REQUIRED)

                   The undersigned hereby certifies that, as of the date hereof, he has received no

answer, objection or other responsive pleading with respect to the twenty-seventh monthly fee

application for compensation and reimbursement of expenses (the “Monthly Application”) of

Richards, Layton & Finger, P.A. (the “Applicant”) listed on Exhibit A attached hereto. The

Monthly Application was filed with the United States Bankruptcy Court for the District of

Delaware (the “Bankruptcy Court”) on August 5, 2020. The undersigned further certifies that

he has reviewed the Bankruptcy Court’s docket in these cases and no answer, objection or other

responsive pleading to the Monthly Application appears thereon. Pursuant to the Notice of Fee

Application filed with the Monthly Application, objections to the Monthly Application were to

be filed and served no later than August 25, 2020 at 4:00 p.m. (ET).



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  The last four digits of The Weinstein Company Holdings LLC’s federal tax identification number are (3837). The
mailing address for The Weinstein Company Holdings LLC is 99 Hudson Street, 4th Floor, New York, New York
10013. Due to the large number of debtors in these cases, which are being jointly administered for procedural
purposes only, a complete list of the Debtors and the last four digits of their federal tax identification numbers is not
provided herein. A complete list of such information may be obtained on the website of the Debtors’ claims and
noticing agent at http://dm.epiq11.com/twc.


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                   The Monthly Application was filed and served in accordance with the Order

Establishing Procedures for Interim Compensation and Reimbursement of Expenses of

Professionals, dated April 17, 2018 [Docket No. 247] (the “Interim Compensation Order”).

Pursuant to the Interim Compensation Order, the above-captioned debtors and debtors in

possession are authorized to pay the Applicant eighty percent (80%) of the fees and one hundred

percent (100%) of the expenses requested in the Monthly Application upon the filing of this

certification without the need for a further order of the Bankruptcy Court. A summary of the

fees and expenses sought by the Applicant is annexed hereto as Exhibit A.




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Dated: September 2, 2020
       Wilmington, Delaware
                                   /s/ David T. Queroli
                                   RICHARDS, LAYTON & FINGER, P.A.
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                                   Paul N. Heath (No. 3704)
                                   Zachary I. Shapiro (No. 5103)
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                                   - and -

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                                   Attorneys for the Debtors and Debtors in Possession




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                                              EXHIBIT A

                                      Professional Fees and Expenses
                                         Monthly Fee Application

    Applicant         Fee Application     Total Fees     Total     Objection        Amount of    Amount of
                       Period, Filing     Requested    Expenses    Deadline:           Fees       Expenses
                      Date, Docket No.                 Requested                    Authorized   Authorized
                                                                                    to be Paid   to be Paid
                                                                                     @ 80%        @ 100%
Richards, Layton &     Twenty-Seventh     $50,161.50    $339.08        8/25/20      $40,129.20    $339.08
Finger, P.A.            Monthly Fee
                        Application
(Co-Counsel to the
Debtors and Debtors    Period: 6/1/20 –
in Possession)             6/30/20

                        Filed: 8/5/20
                      [Docket No. 2910]




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